Case 2:04-Cr-20035-BBD Document 87 Filed 08/05/05 Pagelon Page| 118
Fll.ED BY ____ D.C.

IN THE UNITED STATES DISTRICT COURT
wESTERN DISTRICT oF TENNESSEE 05 AUG "‘5 AHIO= 2b
wEsTERN DIvISION

 

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CLEH\§ US §_:rs; Hl§,TCUUT
UNITED STATES OF AMERICA, ` WJD C-F 1171 ?<,-§;?\.&P%RS
vs. No. 04~20035-Mav

ARTHUR MITCHELL ,

Defendant.

 

ORDER OF TRANSFER

 

The above-styled ease Was tried on the Criminal Rotation
Docket by Judge Bernice B. Donald and is hereby transferred to
Judge Donald for Sentencing and all further proceedings.

It is 30 ORDERED this H Kday of August, 2005.

ydww__.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 87 in
case 2:04-CR-20035 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

